                  Case 2:20-mj-00307-DJA Document 16
                                                  15 Filed 05/06/20 Page 1 of 6



 1   NICHOLAS A. TRUTANICH
     United States Attorney
 2   District of Nevada
     Nevada Bar #13644
 3   KIMBERLY A. SOKOLICH
     Assistant United States Attorney
 4   501 Las Vegas Blvd. South, Suite 1100
     (702) 388-6336
 5   Kimberly.Sokolich@usdoj.gov

 6   Representing the United States of America

 7                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 8
     United States Of America,                       )   Case No. 2:20-mj-00307-DJA
 9                     Plaintiff,                    )
                                                     )   Stipulation    To Continue      Preliminary
10        vs.                                        )   Hearing
                                                     )                 (First Request)
11   JAIQUAN LOVE, and                               )
                                                     )
12   ANDRE JENNINGS,                                 )
                                                     )
13                         Defendants.

14
                IT IS HEREBY STIPULATED AND AGREED by and between, Nicholas A.
15
     Trutanich, United States Attorney, District of Nevada; Kimberly Sokolich, Assistant United
16
     States Attorney, representing the United States of America; Ivette Maningo, Esq.,
17
     representing Defendant Jaiquan Love; and Brian Smith, Esq., representing Defendant Andre
18
     Jennings, that the preliminary hearing in the above captioned case, which is currently
19
     scheduled for May 13, 2020 at 4:00 pm, be continued and reset to a date and time convenient
20
     to the Court, but no sooner than sixty (60) days.
21
     1.         On March 16, 2020, the Chief Judge of the U.S. District Court for the District of
22
                Nevada issued Temporary General Order 2020-03, which found that due to the
23
                outbreak of the coronavirus disease 2019 (“COVID-2019”) in the District of Nevada,
24
                                                 1
25

26
            Case 2:20-mj-00307-DJA Document 16
                                            15 Filed 05/06/20 Page 2 of 6



 1        the declaration by the Governor of the State of Nevada of a public health emergency

 2        due to the spread of COVID-19 in Nevada, and the declaration of local emergencies

 3        by local governments due to COVID-19, including Clark County, the Court has

 4        sustained “reduced ability to obtain an adequate spectrum of jurors,” and it noted the

 5        effects of public health recommendations, including “social distancing measures.”

 6        General Order 2020-03 accordingly continued all civil and criminal trials until April

 7        10, 2020, pending further order of the Court and found that “the ends of justice are

 8        best served by ordering the continuances, which outweighs the best interests of the

 9        public and any defendant’s right to a speedy trial under 18 U.S.C. § 3161(h)(7)(A).”

10   2.   On March 19, 2020, the Chief Judge of the U.S. District Court for the District of

11        Nevada issued Temporary General Order 2020-04 (collectively with General Order

12        2020-03, “the General Orders”), which noted that “the COVID-19 pandemic has

13        continued to spread,” resulting in the need for “more aggressive social-distancing

14        measures.” The Court noted further that, “[o]n March 17, 2020, the Governor of the

15        State of Nevada ordered the closure of many business establishments and strongly

16        encouraged all citizens to stay home.” Accordingly, the Court ordered the temporary

17        closure of the Clerk’s office, and implemented other changes, including “striving to

18        eliminate in-person court appearances.” In the event any hearing must go forward,

19        the Court will conduct the hearing via video or teleconference. On April 29, 2020, the

20        Court amended this order, continuing the closure of the clerk’s office and notes future

21        plans to “incrementally resume in-person court appearances as appropriate based on

22        recommended health guidelines.”

23   3.   Accordingly, based on the public health emergency brought about by the COVID-

24        2019 pandemic, and the required social-distancing measures as recognized in the
                                              2
25

26
            Case 2:20-mj-00307-DJA Document 16
                                            15 Filed 05/06/20 Page 3 of 6



 1        General Orders; the parties agree to continue the currently scheduled preliminary

 2        hearing from May 13, 2020 at 4:00 pm to a date and time convenient to the Court,

 3        but no sooner than sixty (60) days.

 4   4.   Federal Rule of Criminal Procedure 5.1(d) provides that a magistrate judge may

 5        extend the time limits in Rule 5.1(c) with the defendant’s consent and upon a showing

 6        of good cause taking into account the public interest in the prompt disposition of

 7        criminal cases. Because of the COVID-19 pandemic, and the resulting various

 8        closures and resource limitations, good cause exists to allow the defense more time to

 9        prepare for the preliminary hearing.

10   5.   The time from May 13, 2020 to the new preliminary hearing date will be excludable

11        under the Speedy Trial Act, Title 18, United States Code, Section 3161(h)(7)(A),

12        which provides that the Court may exclude time arising from a continuance upon

13        finding that the ends of justice served by granting the continuance outweigh the best

14        interests of the defendant and the public in a speedy trial.

15   6.   Additionally, the government will provide counsel for each defendant with limited

16        Rule 16 Discovery in order to facilitate a pre-indictment resolution. Counsel for each

17        defendant requests an opportunity to review the discovery and discuss it with their

18        respective client prior to a preliminary hearing or indictment.

19   7.   This continuance is not sought for purposes of delay, but to account for the necessary

20        social-distancing in light of the COVID-2019 public health emergency and allow

21        defense counsel an opportunity to review discovery with their client.

22   8.   Both counsel for the defendants and counsel for the government agree to the

23        continuance.

24   9.   The defendants are not detained and agree to the continuance.
                                                3
25

26
              Case 2:20-mj-00307-DJA Document 16
                                              15 Filed 05/06/20 Page 4 of 6



 1   10.   Denial of this request could result in a miscarriage of justice, and the ends of justice

 2         served by granting this request outweigh the best interest of the public and the

 3         defendants in a speedy trial.

 4   11.   The additional time requested by this stipulation is excludable in computing the time

 5         within which the indictment must be filed pursuant to the Speedy Trial Act, Title 18,

 6         United States Code, Section 3161(b), and considering the factors under Title 18,

 7         United States Code, Section 3161(h)(7)(A) and (B)(i) and (iv).

 8   12.   This is the first request to continue the preliminary hearing.

 9         DATED this 6th day of May, 2020.

10

11   NICHOLAS A. TRUTANICH                               /s/Brian Smith
     United States Attorney                            Brian Smith
12                                                     Counsel for Defendant Andre Jennings

13     /s/ Kimberly Sokolich                             /s/Ivette Maningo
     KIMBERLY A. SOKOLICH                              Ivette Maningo
14   Assistant United States Attorney                  Counsel for Defendant Jaiquan Love

15

16

17

18

19

20

21

22

23

24
                                               4
25

26
                  Case 2:20-mj-00307-DJA Document 16
                                                  15 Filed 05/06/20 Page 5 of 6



 1                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 2

 3   United States Of America,                          )   Case No. 2:20-mj-00307-DJA
                       Plaintiff,                       )
 4                                                      )   Findings and Order on Stipulation
          vs.                                           )
 5                                                      )
     JAIQUAN LOVE, and                                  )
 6                                                      )
     ANDRE JENNINGS                                     )
 7               Defendants.                            )
                                                        )
 8

 9              Based on the pending Stipulation between the defense and the government, and good

10   cause appearing therefore, the Court hereby finds that:

11   1.         To account for the necessary social-distancing in light of the COVID-2019 public

12              health emergency and with the defendants’ consent, the preliminary hearing in this
13              case should be continued for good cause.
14   2.         The government will provide counsel for each defendant with limited Rule 16
15              Discovery in order to facilitate a pre-indictment resolution. Counsel for each
16              defendant requests an opportunity to review the discovery and discuss it with their

17              respective client prior to a preliminary hearing or indictment.

18   3.         Both counsel for the defendants and counsel for the government agree to the

19              continuance.
20   4.         The defendants are not detained and agree to the continuance.
21   5.         This continuance is not sought for purposes of delay.
22   6.         Denial of this request could result in a miscarriage of justice, and the ends of justice
23              served by granting this request outweigh the best interest of the public and the

24              defendants in a speedy trial.
                                                    5
25

26
              Case 2:20-mj-00307-DJA Document 16
                                              15 Filed 05/06/20 Page 6 of 6



 1   7.    The additional time requested by this stipulation is excludable in computing the time

 2         within which the indictment must be filed pursuant to the Speedy Trial Act, Title 18,

 3         United States Code, Section 3161(b), and considering the factors under Title 18,

 4         United States Code, Section 3161(h)(7)(A) and (B)(i) and (iv).

 5         THEREFORE, IT IS HEREBY ORDERED that the preliminary hearing in the

 6   above-captioned matters currently scheduled for May 13, 2020 at 4:00 pm, respectfully, be

 7                              July 17, 2020
     vacated and continued to ______________________ at _____.
                                                        4:00 p.m.

 8                     6th day of May, 2020.
           DATED this _____

 9

10

11                                            _______________________________
                                              THE HONORABLE DANIEL ALBREGTS
12                                            United States Magistrate Judge

13

14

15

16

17

18

19

20

21

22

23

24
                                              6
25

26
